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EXHIBIT A
Case: 1:19-cv-07512 Document #: 1-1, Filed: 11/14/19 Page 2 of 5 PagelD #:9

Certificate of Registration

 

This Certificate issued under the seal of the Copyright
Office in accordance with title 17; United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has

Registration Number
been made a part of the Copyright Office records,

PA 2-176-664

Effective Date of Registration:

og. hh. Ss Loe uae April 12,2019 —
‘Unitéd States Register of Copyrights and Director toy

 
  

   

Title

 

Title of Work: Hellboy

Previous or Alternate Title: _ Hellboy 3

 

 

 

 

 

—
Nature of Claim:: Motion Picture
Completion/Publication:
Year of Completion: 2019. )0. yale
Date of Ist Publication: _ April 10,2019).
Nation of 1* Publication: Belgium ° et
Author
° Author: ‘HB Productions, Inc.
Author Created: entire film
Work made for hire:: Yes
Domiciled in: United States... -
~ Anonymous: | No pet
Pseudonymous: No
Copyright Claimant
Copyright Claimant; . HB Productions, Inc: ees =
| bag - 318 N. Carson.St:#208, Carson City, NV 89701
| Limitation of copyright claim. .
Material excluded from this.claim: Motion Picture Screenplay, pre-registration of film
Previously registered: Yes OS ea ier Peat
Previous registration and year: PAu 3-916-707, PREO00010470, 2017, 2018
Basis of current registration: This is a changed; version of the work.
New material included in claim: Cinematographic material including performance, production as a motion

picture, editing andiall audio visual elements including photography dialogue,
music and special effects :

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Certification

 

Name: «Rick Eyler
Date: April 11,2019.

 

Cor respondence?) Yes ‘ ;
Copyright Office notes: Regarding ‘special haiadling request: Claim Weeden for Special Handling per
request received on 5/21/2019* due to:pending or prospective litigation.
Registration decision and certificate issued on 5/24/2019.

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EXHIBIT B
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